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lN THE UNITED STATES DISTRICT COURT 061\ \

 

FOR THE WESTERN DISTRICT OF TENNESSEEC j<</‘Ok& <D 104 90
EASTERN DIVISION 59 §§ / f <°.- '
¢H”;';£$//?:gf§f“@ O&
IN RE: Motion to Quash Subpoena ) '<.47£;»'/:’/}®
Served upon Martin Industrial ) ‘j@j/@’
Supply Company, Inc., )
)
Non-Party Movant, )
)
ELECTROLUX HOME PRODUCTS, )
INC., )
)
Plaintiff, )
)
vs. ) No. 05-1007 T/An
)
WHITESELL CORPORATION, )
)
Defendant. )
ORDER SETTING HEARING

 

Before the Court is the Non-Pany Movant’S Motion to Quash a Deposition Subpoena
filed on July 28, 2005. After consideration, it is ORDERED that a hearing shall be held before
United States Magistrate Judge S. Thomas Anderson on THURSDAY, AUGUST 11, 2005 at

10:30 A.M. in Courtroom M-3, 9th Floor, Federal Building, MEMPHIS, TENNESSEE.

lT IS SO ORDERED. 5

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: £O:mf §Z_. ZOO_(-

Thls document entered on the docket sheet in compliance
with Flule 58 and,'or_?B (a) FRCP on

     

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 3 in
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August 4, 2005 to the parties listed.

 

 

D. Christopher Carson
BURR & FORMAN

3100 South Trust ToWer
420 N. 20th St.

Birmingham, AL 35283--071

Honorable J ames Todd
US DISTRICT COURT

